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      ORAL ARGUMENT SCHEDULED FOR NOV. 20, 2023
                              No. 23-3190



      In the United States Court of Appeals
             for the District of Columbia Circuit


                      UNITED STATES OF AMERICA,

                                                             Appellee,

                                   v.

                           DONALD J. TRUMP,

                                              Defendant-Appellant.



                   On Appeal from the United States
               District Court for the District of Columbia
               Case No. 23-cr-00257 (Chutkan, U.S.D.J.)


     [Proposed] Brief of Amicus Curiae pro Se Jeremy Bates
         in Support of the United States and Dismissal


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                                Glossary


Br.                    Opening Brief of Defendant Trump

Defendant Trump        Defendant-Appellant Donald J. Trump

JA__                   Joint Appendix at [page number]

Order                  Order that this Court administratively stayed,
                       made by The Hon. Tanya S. Chutkan, U.S.D.J.,
                       at Dkt. 105 in United States v. Trump, No. 1:23-
                       cr-00257 (D.D.C. Oct. 17, 2023); see JA229–31

Reply                  Reply Brief of Defendant Trump

United States          Appellee the United States of America, as
                       represented by the Office of Special Counsel,
                       United States Department of Justice

U.S.Br.                Answering Brief for the United States


                     Statement as to Jurisdiction

       Bates notes the alternative theory of jurisdiction advanced by

Defendant Trump (Br. at 4–5)—that the Order granted an injunction,

and that the Order is now appealable under 28 U.S.C. § 1292(a)(1),

which governs injunctions.


                         Statement of the Issue

       1.   Whether Defendant Trump’s requests for relief in equity

should be denied because he comes to this Court with unclean hands.

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            Statement of Identity, Interest in Case, and
                   Source of Authority to File

     Bates is a New York lawyer. As an individual, he does not need

authority from anyone to file. He has four interests in this appeal.

     First, Bates is a citizen and taxpayer. Like most Americans,

Bates has an interest in ensuring that justice be established, that

domestic tranquility be insured, and that the Constitution of the United

States be preserved, protected, and defended.

     Second, like 81 million other Americans in the 2020 presidential

election, Bates voted for Joseph Biden. Thus Bates is one victim of the

conspiracy, charged by the grand jury, to injure Americans in the “free

exercise and enjoyment of a right and privilege secured to them by the

Constitution and laws . . . —that is, the right to vote, and to have one’s

vote counted.” JA64. Bates has defended his right to vote, and to have

his vote counted, before. See Bates v. D.C. Board of Election & Ethics,

625 A.2d 891 (D.C. 1993) (establishing American rule in D.C. elections).

     Third, like many attorneys, who are officers of courts, Bates has

an interest in ensuring that courts of equity do not grant any remedy

that abets Defendant Trump’s misconduct and abuse.



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     Fourth, on January 19, 2021, Bates sued Defendant Trump

derivatively on behalf of the United States of America for breach of

fiduciary duty to the United States. See Bates on behalf of United

States v. Trump, No. 21-1533, 2022 WL 453397 (2d Cir. Feb. 15, 2022).

     In that case, certiorari was denied at 9:30 a.m. on June 27, 2022.

Bates v. Trump, No. 21-1389, 2022 WL 2295592 (U.S. June 27, 2022).

     A grand jury charged Defendant Trump with obstructing justice

only eighteen minutes later. See Superseding Indictment Doc. 85 ¶ 83,

United States v. Trump, No. 9:23-cr-80101-AMC (S.D. Fla. July 27,

2023) (alleging attempt to delete incriminating security-camera footage

on “Monday, June 27, 2022, at 9:48 a.m.”).


      Statement of Authorship and Financial Contributions

     No one other than Bates authored this brief in whole or in part.

     Bates has paid for this submission out of his personal funds. No

one other than Bates contributed any money intended to fund preparing

or submitting this brief.




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                        Summary of Argument

      Equity declines to aid iniquity. Equity refuses to assist any party

who comes to court with unclean hands. This maxim counsels courts

to ration equitable remedies and grant them only to parties who have

acted properly. Otherwise, courts of equity risk abetting misconduct.

      Here, Defendant Trump invoked the Court’s powers in equity and

received a stay—which is an injunction, equity’s epitome. At the same

time, Defendant Trump admits that he publicly abuses public officials,

including court officers. Indeed, he contends that his core political

speech includes calling prosecutors “deranged” or “thugs.”

      So Defendant Trump concedes that he has acted inequitably.

Indeed, he persists in using bully pulpits—now, his campaign to regain

the White House—to commit misconduct against the United States and

against its faithful officers. Defendant Trump’s core political speech

consistently has been unconscionable, in bad faith, and inequitable.

      Rarely has equity ever seen a party whose hands are so unclean.

Equity should have shut its doors firmly against Defendant Trump.

This Court should now dissolve the administrative stay, should deny

any further stay, and should dismiss this appeal.



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                                Argument

      As an eighteenth-century writer put it, “He that hath committed

Iniquity, shall not have Equity.” Richard Francis, Maxims of Equity 5

(3d ed. 1791). This maxim is known as the unclean-hands doctrine—

“one of the fundamental principles upon which equity jurisprudence is

founded.” Keystone Driller Co. v. Gen’l Excav. Co., 290 U.S. 240, 244

(1933). If a plaintiff has unclean hands with respect to the matter in

suit, then a court of equity will hold that plaintiff “remediless.” Id.

      In this Court, Defendant Trump has avoided the word “equity.”

Even so, he seeks—indeed, he has already obtained—equitable relief.

Now the traditional doctrine of unclean hands, however, counsels that

the administrative stay be dissolved, that any further stay be denied,

and that this appeal be dismissed.

I.    In this Court, Defendant Trump requests—
      and has already obtained---relief in equity.

      A stay of a lower court’s injunction is itself an injunction. So

Defendant Trump has already received equitable relief—the pending

administrative stay. And he asks for more—a stay pending appeal.

      On the merits, too, this appeal sounds in equity, as shown by

Defendant’s contentions below and his jurisdictional argument here.


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      A.    A stay by an appellate court of an order made by a
            trial court is an injunction—equity’s epitome.

      As Justice Samuel A. Alito, Jr., wrote in dissent earlier this year,

the “granting of a stay of a lower-court decision is an equitable remedy.”

Danco Labs., LLC v. Alliance for Hippocratic Medicine, No. 22A901,

598 U.S. __, __, slip op. at 3 (April 21, 2023) (Alito, J., dissenting).

      This point is often made in capital cases, where courts describe

stays of execution as equitable. E.g., Hill v. McDonogh, 547 U.S. 573,

584 (2006) (“We state again . . . that a stay of execution is an equitable

remedy.”). If a stay of an execution, while a life hangs in the balance,

must meet equitable standards despite due-process concerns and

habeas guarantees, then any stay of the Order, which merely restricts

Defendant Trump’s public speech, should do the same.

      The principle may have been clearer before the merger of law and

equity. In 1901 the Supreme Court, upholding a stay issued by an

appellate court, explained that “[t]ested by the principles and rules

which relate to chancery proceedings, the power of the appellate court

to render its jurisdiction efficacious, the court below refusing to do so,

is unquestionable.” In re McKenzie, 180 U.S. 536, 551 (1901); see also

former Equity Rule 74 (governing “Injunction Pending Appeal”).


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      Furthermore, an administrative stay of an injunction may be

regarded as modifying the injunction by changing its effective date.

See Rachel Bayefsky, Administrative Stays: Power and Procedure,

97 Notre Dame L. Rev. 1941, 1964 (2022).

      Here, the District Court issued its Order under Local Criminal

Rule 57.7. (JA231). As the United States has shown, rules of this type

arose after a 1966 case. (U.S.Br. at 8–10.) Such rules were not adopted

in equity because the Equity Rules had been abrogated in the 1930s.

      Still, in its current, post-merger form, “the inherent power of

courts to exercise control over litigants is partly ‘rooted in the notion

that a federal court, sitting in equity, possesses all of the common law

equity tools of a Chancery Court . . . to process litigation to a just and

equitable conclusion.’” Jeffrey C. Dobbins, The Inherent and

Supervisory Power, 54 Ga. L. Rev. 411, 431 (2020) (quoting ITT Cmty.

Dev. Corp. v. Barton, 569 F.2d 1351, 1359 (5th Cir. 1978)).

      B.   In the District Court, Defendant Trump conceded
           that the Nken factors are “equitable.”

      To be sure, the Supreme Court held in Nken that a stay was not

an injunction within the textual meaning of an immigration statute.

Nken v. Holder, 556 U.S. 418, 434 (2009). But as the Nken Court also


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observed, “[a] stay pending appeal certainly has some functional overlap

with an injunction, particularly a preliminary one.” Id. at 428. And

Justice Alito, dissenting as to the statutory reading, pointed out that

in other contexts, courts and statutes refer to stays generally as

injunctions. Id. at 442–43 (Alito, J., dissenting).

      Here, when Defendant Trump moved the District Court for a stay

pending appeal, he characterized all the Nken factors as “equitable.”

(JA263 (describing three Nken factors—irreparable injury, balancing

of harms, and the public interest—as “the other equitable factors” and

“The Remaining Equitable Factors”).)

      Thus in the District Court, Defendant Trump conceded that the

Nken analysis of whether to grant a stay pending appeal is equitable.

      C.   In this Court, Defendant Trump justifies jurisdiction
           under 28 U.S.C. § 1292(a)(1), governing injunctions.

      Similarly, Defendant Trump has invoked this Court’s jurisdiction

in equity. He says, in part, that the Order “is immediately appealable

under 28 U.S.C. § 1292(a)(1)” because it “has the ‘practical effect’ of

granting an injunction.” (Br. at 4 (citing Sierra Club v. U.S. Dep’t of

Agriculture, 716 F.3d 653, 659 (D.C. Cir. 2013), which cited Carson

v. Am. Brands, Inc., 450 U.S. 79, 84 (1981)).)


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      The statute Defendant Trump relies on creates appellate

jurisdiction over district-court orders granting injunctions:

      [T]he courts of appeals shall have jurisdiction of appeals from:
           (1) Interlocutory orders of the district courts of the United
      States . . . , or of the judges thereof, granting, continuing,
      modifying, refusing or dissolving injunctions . . . .

28 U.S.C. § 1292(a)(1).

      And Defendant Trump characterizes the Order as an injunction.

He criticizes the Order as an obey-the-law injunction. (Reply at 25; see

also Br. at 24 (“This is an impermissible ‘obey the law’ injunction.”).)

      In the alternative, Defendant Trump asks for mandamus relief.

(Br. at 5–6.) But the All Writs Act granted traditional judicial powers,

including equitable ones. See, e.g., Clinton v. Goldsmith, 526 U.S. 529,

537 (1999) (“The All Writs Act invests a court with a power essentially

equitable.”) (citing Carlisle v. United States, 517 U.S. 416, 429 (1996)). 1

      For these reasons, this appeal sounds in equity. In deciding the

issues raised—the pending administrative stay, any further stay, and

the Order’s validity—the Court should look to equity’s traditional rules.




1 See also 19 J. Moore & G. Pratt, Moore’s Fed. Practice § 204.02[4] (3d

ed. 1998) (“The All Writs Act cannot enlarge a court’s jurisdiction.”).

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II.   Every party who seeks relief in equity
      must come to court with clean hands.

      That one who seeks relief in equity must have clean hands is a

rule of long standing. And it matters not whether this rule was raised

below (it wasn’t). This Court may raise it sua sponte now.

      A.   The unclean-hands doctrine forbids relief
           in equity for one who has acted inequitably
           as to the matter in litigation.

      In 1848 the Supreme Court warned: “It is a principle in chancery

that he who asks relief must have acted in good faith. The equitable

powers of this Court can never be exerted in behalf of one who has acted

fraudulently, or who by deceit or [ ] unfair means has gained an

advantage.” Bein v. Heath, 47 U. S. 228, 247 (1848).

      This rule bars relief in equity for a party who has engaged

in conduct that is “unconscionable or inequitable.” Mfrs.’ Fin. Co.

v. McKey, 294 U.S. 442, 451 (1935). Courts ask not whether a party has

broken a criminal law—an open issue here as yet—but rather whether

the party has violated the “dictates of natural justice.” Deweese

v. Reinhard, 165 U.S. 386, 390 (1897). As the Supreme Court noted,

      [O]ne’s misconduct need not necessarily have been of such a
      nature as to be punishable as a crime or as to justify legal
      proceedings of any character. Any willful act concerning the cause


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      of action which rightfully can be said to transgress equitable
      standards of conduct is sufficient cause for the invocation of the
      [unclean-hands] maxim by the chancellor.

Precision Instr. Mfg. Co. v. Automotive Maint. Mach. Co., 324 U.S. 806,

815 (1945); see also Performance Unlimited, Inc. v. Questar Pub’s, Inc.,

52 F.3d 1373, 1383 (6th Cir. 1995) (requiring “fraud, deceit, unconscion-

ability, or bad faith”); Bodley v. Jones, 59 A.2d 463, 469 (Del. 1947)

(requiring violation of conscience, good faith, or equitable principles).

      That said, for the unclean-hands doctrine to apply, the misconduct

must be directly related to the matter in litigation:

      [C]ourts of equity . . . apply the maxim requiring clean hands only
      where some unconscionable act of one coming for relief has
      immediate and necessary relation to the equity that he seeks in
      respect of the matter in litigation. They do not close their doors
      because of plaintiff’s misconduct, whatever its character, that has
      no relation to anything involved in the suit, but only for such
      violations of conscience as in some measure affect the equitable
      relations between the parties in respect of something brought
      before the court for adjudication.

Keystone Driller, 290 U.S. at 245.

      Such a necessary relation is present here. (See Part III, infra.)

      Moreover, the rule that unclean hands will bar relief in equity

applies with special force in suits that concern the public interest:

      where a suit in equity concerns the public interest, as well as the
      private interests of the litigants, this doctrine assumes even wider


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      and more significant proportions. For if an equity court properly
      uses the maxim to withhold its assistance in such a case, it not
      only prevents a wrongdoer from enjoying the fruits of his
      transgression, but averts an injury to the public.

Precision Instr., 324 U.S. at 815. Here, Defendant Trump concedes that

this appeal concerns the public interest. (Br. at 34–36; Reply at 15–21.)

      B.   The unclean-hands doctrine
           may be applied sua sponte.

      Neither below nor here did the United States make the argument

that Defendant Trump’s inequitable conduct renders his hands unclean

and disables him from seeking any relief in equity.2

      Nevertheless, this Court may raise unclean hands sua sponte.

      This is so because the unclean-hands doctrine prevents a party

from using courts of equity to compound his own misconduct or “to

derive an advantage from [his] own wrong.” Kitchen v. Rayburn, 86

U.S. 254, 263 (1873). To be used in that way would make a court the

“abetter of iniquity.” Bein, 47 U.S. at 247. So the doctrine is designed



2 That silence is odd, given that in another Trump prosecution, the

United States cited a decision clearly explaining unclean hands: United
States v. Howell, 425 F.3d 971, 974 (11th Cir. 2005) (“[N]o principle
is better settled than the maxim that he who comes into equity must
come with ‘clean hands’ and keep them clean throughout the course
of the litigation, and that if he violates this rule, he must be denied
all relief whatever may have been the merits of his claim.”).

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“to protect the court from becoming a party to the transgressor’s

misconduct.” In re Napster, Inc. Copyright Litig., 191 F. Supp. 2d 1087,

1111 (N.D. Cal. 2002). As Learned Hand, in dissent, wrote,

      The [unclean-hands doctrine] is confessedly derived from the
      unwillingness of a court, originally and still nominally one of
      conscience, to give its peculiar relief to a suitor who in the very
      controversy has so conducted himself as to shock the moral
      sensibilities of the judge. It has nothing to do with the rights or
      liabilities of the parties; indeed the defendant who invokes it need
      not be damaged, and the court may even raise it sua sponte.

Art Metal Works, Inc. v. Abraham & Straus, Inc., 70 F.2d 641, 646 (2d

Cir. 1934) (Hand, J., dissenting) (first italics added). 3

      “Public policy not only makes it obligatory for courts to deny a

plaintiff relief once his ‘unclean hands’ are established[,] but to refuse to

even hear a case under such circumstances.” Gaudiosi v. Mellon, 269

F.2d 873, 882 (3d Cir. 1959). This logic supports dismissing this appeal.

      Thus the Court may raise the unclean-hands doctrine sua sponte.



3 Accord Karpenko v. Leendertz, 619 F.3d 259, 267 (3d Cir. 2010)
(“[T]he equitable doctrine of unclean hands is not a matter of defense
to the defendant. Rather, in applying it courts are concerned primarily
with their own integrity.”); Highmark, Inc. v. UPMC Health Plan, Inc.,
276 F.3d 160, 174 (3d Cir. 2001) (“[W]e may sua sponte apply the
doctrine . . . .”); Hall v. Wright, 240 F.2d 787, 795 (9th Cir. 1957) (“In
applying the unclean hands maxim, the court is ‘concerned primarily
with protecting its own integrity from improper action by a party.’”).


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III. Defendant Trump’s hands are unclean.

      Because relief in equity “should not be given if the moving party

has not acted equitably,” Danco, supra, (Alito, J., dissenting), the

question then becomes, which actions by the moving party matter?

      What “unconscionable act[s]” by the movant have an “immediate

and necessary relation to the equity that he seeks in respect of the

matter in litigation[?]” Keystone Driller, 290 U.S. at 245. In other

words, which “violations of conscience” by the one who seeks relief

“affect the equitable relations between the parties in respect of

something brought before the court for adjudication[?]” Id.

       What Defendant Trump brings before this Court for adjudication

is his public speech. So the Court should review Defendant Trump’s

public speech to determine whether it comports with equitable

standards. It does not, as he effectively admits and as others confirm.

      A.   Defendant Trump has admitted facts that
           establish that his hands are unclean.

      Defendant Trump tries to frame the speech narrowly. He focuses

on his “public statements about key aspects of his prosecution,” his

“public statements about this case,” his “freedom to speak about the




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case,” or his “Core Political Speech About the Prosecution of President

Trump.” (Br. at 1, 2, 3, 6.)

      That narrow framing is, in part, an effort to suggest that the

Order here is separate and distinct from the case below, and thus is

immediately appealable. (Br. at 2–4 (portraying Order as collateral).)

      But even in that circumscribed ambit, Defendant Trump admits,

as he must, that he called the prosecution “Deranged Jack Smith & his

team of Thugs” and has publicly posted, “IF YOU GO AFTER ME, I’M

COMING AFTER YOU!” (Br. at 13, 15 n.7.; see generally id. at 12–17).

      Whether those are fighting words is beside the point; the unclean-

hands doctrine does not seem to have any First Amendment exception.

      So the Court needs nothing more to hold that Defendant Trump

comes to equity with unclean hands.

      B.   The United States has compiled further facts showing
           that Defendant Trump has unclean hands.

      If any more were needed, the United States has provided it.

      The United States made a record in the District Court, and has

summarized the record for this Court, of the ways in which Defendant

Trump has used public speech to jeopardize the integrity of this case.

(See U.S.Br. at 4–7.)


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      And as the United States points out, Defendant Trump’s speech

about this case, while it has been pending, is only part of the story. The

Court should find that Defendant Trump has unclean hands by looking

to the undisputed public speech for which the grand jury charged him

and to his public speech about other proceedings. (See U.S.Br. at 6, 7,

& 7 n.1 (describing other speech by Defendant).) 4

      C.    The Court may take notice of other proceedings that
            establish that Defendant Trump has unclean hands.

      The Court may also take judicial notice of much else. Three

proceedings are especially relevant here, because they involve courts

addressing aspects of Defendant Trump’s speech conduct:

      (1)   Eastman v. Thompson, 2022 WL 894256, *22 (C.D. Cal.

            Mar. 28, 2022) (finding “more likely than not” that

            Defendant Trump committed obstruction); id. at *24

            (same as to conspiracy to defraud United States);




4 The January 6 attack on Congress has led, at last count, to the

criminal convictions of 98 individuals after contested trials and
approximately 594 people pleading guilty to various charges, including
four to seditious conspiracy. United States Attorney’s Office—District
of Columbia, 30 Months Since the Jan. 6 Attack on the Capitol, at
https://www.justice.gov/usao-dc/30-months-jan-6-attack-capitol.

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      (2)   the defamation cases brought by another victim of

            Defendant Trump;5 and

      (3)   the finding two days ago by a Colorado state court that

            Defendant Trump committed insurrection within the

            meaning of the Fourteenth Amendment. 6

      In all this, recall that Defendant Trump is a practiced litigant.

See James D. Zirin, Plaintiff in Chief: A Portrait of Donald Trump in

3500 Lawsuits (2019). As this case and other proceedings illustrate,

when it comes to court orders, Defendant Trump knows what to do.

When enjoined, he is perfectly capable of ceasing his misconduct, as if

by turning off a switch. He simply doesn’t want to have to.

      In sum, based on what Defendant Trump brings to the Court for

adjudication, the Court should now hold that Defendant Trump’s hands

are unclean. Therefore he should not receive any relief in equity.


5 Benjamin Weiser, Trump’s Next Defamation Trial Will Skip to What

Damages He Should Pay, N.Y. Times, Sept. 6, 2023, available at
https://www.nytimes.com/2023/09/06/nyregion/trump-e-jean-carroll-
defamation-trial-january.html.

6 Andrew Goudsward, Colorado judge finds Trump engaged in

‘insurrection’ but allows him on ballot, Reuters, Nov. 18, 2023,
available at https://www.reuters.com/legal/colorado-judges-allows-
trump-primary-ballot-delays-decision-general-election-2023-11-18/.

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IV.   The Court should dissolve the administrative stay,
      deny any further stay, and dismiss this appeal.

      When Defendant Trump first sought relief in equity here, it seems

that the unclean-hands doctrine was not raised. For whatever reason,

this Court finds itself in the position of having granted interim relief in

equity to perhaps the least deserving litigant in American legal history.

      The first thing this Court should do is extricate itself. The Court

now should cease abetting Defendant Trump’s misconduct. The Court

should dissolve the administrative stay and deny any further stay.

      Next, the Court should apply the unclean-hands doctrine to

dismiss this appeal. By his own account, Defendant Trump appeals

from an injunction. So traditional equitable maxims apply.

      Besides, courts of equity look past legal forms to realities.

      Stripped of campaign pretenses, the reality here is that Defendant

Trump by public speech stochastically incites harassment and violence

against all manner of public officials, their staffers, their families, and

the law-enforcement officers who protect them.

      So if the Court were to treat with Defendant Trump on the merits,

then the Court would sully its own hands too.




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                              Conclusion

      Defendant Trump knocks on equity’s door with unclean hands.

Equity’s door should have remained firmly shut against him.7

      The Court should dissolve the pending administrative stay,

decline to stay the Order any further, and dismiss this appeal.

                                         Respectfully submitted,
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Dated: November 19, 2023




7 “Chancellors in early equity courts issued injunctions as remedies

in criminal cases as well as civil cases.” Cortney E. Lollar, Invoking
Criminal Equity’s Roots, 107 Virginia L. Rev. 495, 504 (2021) (citing
David W. Raack, A History of Injunctions in England Before 1700,
61 Ind. L.J. 539, 560 n.131 (1986), and Edwin S. Mack, The Revival
of Criminal Equity, 16 Harv. L. Rev. 389, 392 (1903)).

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                      Certificate of Compliance

      This brief complies with the word limits of FRAP 29(a)(5) and

FRAP 32(a)(7)(B)(i) because it contains 3,878 words.

      This brief complies with the typeface and type-style requirements

of FRAP 29(a)(4), FRAP 32(a)(5)(A), and FRAP 32(a)(6) because it was

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                                          s/ Jeremy Bates
                                          Jeremy Bates

Dated: New York, New York
Dated: November 19, 2023




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                         Certificate of Service

      I hereby certify that all counsel of record who have consented to

electronic service are being served today with a copy of this document

via the Court’s ECF system. To my knowledge, all parties and amici in

this case are represented by counsel consenting to electronic service.

                                           s/ Jeremy Bates
                                           Jeremy Bates

Dated: New York, New York
Dated: November 20, 2023




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